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                                   1970




                   EXHIBIT I
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                                   1971


                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTSVILLE DIVISION

  BABY DOE, et al.,

                       Plaintiffs,
                                                                  CIVIL NO: 3:22-cv-00049-NKM-JCH
             -v.-

  JOSHUA MAST, et al.,

                       Defendants,

  and

  UNITED  SECRETARY                     OF      STATE
  ANTONY BLINKEN, et al.
                       Nominal Defendants.


                    DEFENDANT RICHARD MAST’S DECLARATION IN SUPPORT
                         OF HIS MOTION TO VACATE PROTECTIVE ORDER

        Defendant Richard Mast hereby declares as follows:

        1.           I am over the age of 18 years, have personal knowledge of the matters set forth in this

Declaration, and if called upon to testify to them, I would and could do so competently and truthfully.

        2.           I am a Defendant in this matter.

        3.           I am one of the counsel of record for Joshua and Stephanie Mast in the matter [John

and Jane Doe] et al. v. J. M. and S. M., Case No. CL2Case No. CL22000186-00, pending in the

Circuit Court of Fluvanna County, Virginia (the “Circuit Court Matter”), filed in December 2021;

and dismissed in March, 2022 and refiled as a collateral attack. The Circuit Court Matter, filed by

Plaintiffs John and Jane Doe, sought to undue the earlier adoption.

        4.           I was one of the counsel of record for Joshua and Stephanie Mast in In the Matter of

"Baby [Doe]", Case No. JJOO4656-01-00 in the Juvenile and Domestic Relations Court of Fluvanna

County, Virginia (“J&DR Matter”), which was filed in 2019.

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                                   1972


       5.      I was counsel of record for Joshua and Stephanie Mast in In the Matter of “Baby

[Doe],” Case No. 19CA12, in the Circuit Court of Fluvanna County, Virginia, which was filed in

2019. (“Adoption Matter”).

       6.      I was counsel of record for Joshua and Stephanie Mast in Baby L., et al v. Esper, Case

No. 3:20-cv-00009, filed February 26, 2020, in the Western District of Virginia for the purposes of

seeking a Temporary Restraining Order (TRO), requiring the Government to vet claimants for

terrorist ties and perform a DNA test on any claimants to ensure they were truly related, prior to

permitting Baby Doe to leave DoD protection. (“TRO Matter” or “Baby L.”).

       7.      In the Circuit Court matter, the court conducted an evidentiary hearing on September

9, 2022, on several issues, including the claim that the Masts had misrepresented Baby Doe as a child

of foreign fighters.

       8.      Several U.S. Army Rangers, including the Alpha Team Leader and Multi-Purpose

Canine (MPC) handler, each eyewitness who recovered Baby Doe off the battlefield, testified in that

proceeding.

       9.      I personally observed the testimony of the operators, who stated that they had “no

doubt” that Baby Doe’s parents were foreign fighters who fought to the death in brutal close combat

with American forces, in the precise compound they anticipated their Al Qaeda leadership targets to

be located.

       10.     On February 26, 2020, Counsel for the United States represented to this Court that the

Government was “aware” “of the [Virginia states court] order. It’s a sealed proceeding so we – we

don’t have access to it.” See Transcript, Page 17, Dkt.18, 3:20-cv-00009.

       11.     Weeks prior to the Government’s representations to this court, the Assistant Secretary

of Defense was more than “aware” of the order; and had made multiple determinations recognizing

the validity of both the Virginia J&DR Court custody order; as well as the validity of the Virginia

Circuit Court’s interlocutory order of adoption.
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                                   1973


       12.     Dkt.171-1, attached hereto as “Exhibit 1,” is a document authorized and endorsed by

the Deputy Assistant Secretary of Defense. It is entitled “MEMORANDUM FOR UNITED STATES

CITIZENSHIP       AND     IMMIGRATION           SERVICES,    DEPARTMENT          OF    HOMELAND

SECURITY,” hereinafter, “Parole Visa Request” or “the Memorandum.”

       13.     The Memorandum sets forth U.S. Department of Defense (“DoD”) policy regarding

Baby Doe and recognizes Major Mast and his wife as her legal guardians.

       14.     On February 12, 2020, the undated Memorandum was submitted to United States

Customs and Immigration Services (“USCIS”) via email, to the head of the Humanitarian Affairs

Branch.

       15.     Upon information and belief, I understand that the Memorandum was requested

pursuant to Touhy and treated as a Freedom of Information Act (“FOIA”) release pursuant to DoD

policy for treating such requests or demands.

       16.     I understand that it is the policy of the DoD and the subordinate Department of the

Navy (“DON”) “to make factual official information, both testimonial and documentary, reasonably

available for use in Federal courts, state courts, foreign courts, and other governmental proceedings

unless that information is classified, privileged, or otherwise protected from public disclosure.” See

SECNAV INSTRUCTION 5820.8A (Exhibit 17, Dkt.171-17).

       17.     I further understand that the Deputy Assistant Secretary of Defense was the action

officer within the Office of the Undersecretary of Defense for Policy, the designated Agency official

responsible for setting DoD policy on behalf of the Secretary of Defense.

       18.     The “memorandum documents an official request” of the Department of Defense to

the Department of Homeland Security, requesting a Humanitarian Parole Visa (“Parole Visa

Request”) for Baby Doe on the basis of her legal custody order, status as a DoD dependent, medical

needs, and an orphaned stateless minor. See Exhibit 1, Page 3.

       19.     The document was executed while Baby Doe was in the care of DoD Defense Health
                                                  3
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                                   1974


Service (“DHS”).

       20.     On behalf of the DoD, the Office of the Assistant Secretary of Defense recognizes

that “Due to [Baby Doe’s] unique status as an orphaned stateless minor, and her need for ongoing

medical care, a member of the Department of Defense (DoD) [then-Captain and Mrs. Joshua Mast,

represented by me] applied for and was granted sole legal custody of Baby L. on 6

November2019 by a U.S. court.” (Emphasis added). Exhibit 1, Pages 3 and 4.

       21.     On behalf of the DoD, the Office of the Assistant Secretary of Defense also recognized

that “On l0 November 2019, a second U.S. court issued an order granting Baby L. a ‘Record of

Foreign Birth’ birth certificate finding that [Baby L.’s] birth country and nationality/citizenship is

‘unknown,’ and providing her with her sole legal identity.” Exhibit 1, Pages 3 and 4.

       22.     On behalf of the DoD, the Office of the Assistant Secretary of Defense also recognized

that Baby Doe “has a valid court order from the Commonwealth of Virginia Juvenile and

Domestic Relations Court ordering her legal name to be ‘[Baby L.] Mast,” and her legal birthday”

assigned. (Emphasis added). Exhibit 1, Page 5.

       23.     On behalf of the DoD, the Office of the Assistant Secretary of Defense also recognized

that a “Virginia Circuit Court also found, based on the facts and circumstances regarding her

recovery, that [Baby L.’s] nationality and citizenship is unknown and directed the Virginia

Department of Vital Statistics to produce a Certificate of Foreign Birth.” Exhibit 1, Page 5.

       24.     Establishing Baby Doe’s legal identity by means of a Certificate of Foreign Birth was

the purpose for which I sought the interlocutory order of adoption on behalf of Major Mast and his

wife. This course of action was recommended to resolve a question of statutory interpretation related

to issuing a Record of Foreign Birth, proposed after consultation with the Office of the Attorney

General of the Commonwealth of Virginia.

       25.     “TAB E details the circumstance of [Baby L]. having no identity prior to these court

orders. As per TAB E, [BABY L] Mast is a six-month-old stateless infant with no known
                                                  4
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                                   1975


citizenship or nationality in the sole legal custody of Joshua and Stephanie Mast.” (Emphasis

added). Exhibit 1, Page 5.

       26.     “Baby [L.] is in the sole legal custody of Joshua and Stephanie Mast and they will

consent to any necessary medical treatment once [she] is admitted to the University of Virginia

Children’s Hospital…” (Emphasis added). Exhibit 1, Page 8.

       27.     “In addition, Baby L. has been approved by Headquarters, United States Marine

Corps, to enroll in the Defense Enrollment Eligibility Reporting System (DEERS) as the legal

dependent of Capt Joshua Mast, an Active Duty Marine.” (Emphasis added). Exhibit 1, Page 5.

       28.     “As a DoD dependent, [Baby L.] has been enrolled in TriCare, the U.S. military's

health insurance program for service members and their dependents (TAB C). Consequently, all of

[Baby L.’s] medical costs will be covered by TriCare health insurance.” Exhibit 1, Page 5.

(Emphasis added). Exhibit 1, Page 5.

       29.     My understanding at the time this Determination was made by DoD is that Baby L.

had serious long-term medical needs, as did Defendant Kimberly Motley. The DoD Office of the

Assistant Secretary of Defense recognized that “Mrs. Motley's assessment was echoed in meetings

with the Afghan Ministry of Labor and Social Affairs (MOLSA) and other Afghan officials,

who all expressed that the Afghan government did not have the capability to care for a child of [Baby

L.’s] age or with her medical needs.” (Emphasis added). Exhibit 1, Page 6.

       30.     On behalf of DOD, the Office of the Assistant Secretary of Defense also recognized

that “DoD bas an interest in ensuring the safety of DoD Dependents, and providing them with their

statutorily authorized benefits, including health care,” and that “the Defense Health Service (DHS)

specifically has an obligation to ensure the safety of every patient, and to protect the Patient Rights

outlined by Department of Defense Instruction (DoDI) 6000.14.” Exhibit 1, Pages 3 and 4.

       31.     “These rights include the right to be treated in a safe environment, as well as to

participate in treatment decisions, and choose between appropriate medical providers.” Exhibit 1,
                                                  5
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Page 4.

          32.   “The DoD and DHS’s interests outlined above contribute to the readiness of the

Armed Forces…DHS provides support to the warfighter by ensuring excellent. safe, and appropriate

care for each patient, especially vulnerable dependents such as infants and children.” (Emphasis

added). Exhibit 1, Page 4.

          33.   The Parole Visa Request recognizes that the conditions of the Parole Visa would

require the Masts to forego adoption (“The DoD is not advocating for adoption. Rather, we are

advocating for urgently required medical care”), which I truthfully stated to this court at the TRO

hearing on February 26, 2020.

          34.   My statements in that hearing are corroborated by the Parole Visa Request, as well as

contemporaneous emails between and among myself, Wally Bird, and staffers at Senator Cruz’

office.

          35.   When this Court asked me, “what are you asking for, ultimately? Your client is not

asking to adopt the child,” I truthfully replied, “No, sir. He wants to get her medical treatment in the

United States...” and I also discussed the Parole Visa more than nine times in the February 26, 2020

hearing.

          36.   My statement is consistent with the conditions stated by DoD for a Parole Visa

Request (“The DoD is not advocating for adoption. Rather, we are advocating for urgently required

medical care.”). See Exhibit 1, Page 5.

          37.   As this Court may recall stating, “If this child should come to the United States and

have medical treatment, then the next step would be to ask for asylum in the United States,” I

truthfully replied, “It may happen, Your Honor,” to which the Court agreed that it would be “sort of

silly to bring the child here and send her back…” See Transcript, Page 30, Dkt.18, 3:20-cv-00009.

          38.   Of note, there was a Vehicle-Borne Improvised Explosive Device (VBIED) terrorist

attack and ground assault adjacent to the American hospital at Bagram in December 2019, which
                                                   6
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initiated the request to medically evacuate Baby Doe. Taliban Attack U.S. Base in Afghanistan as

Negotiators    Talk    Peace,    NEW       YORK        TIMES        (Dec.11,   2019),   available   at

https://www.nytimes.com/2019/12/11/world/asia/Afghanistan-bagram-airfield-attack.html. At least

two civilians were killed and 73 others wounded in the car bombing and subsequent assault at Bagram

Air Base.

       39.     The Office of the Undersecretary of Defense for Policy is responsible to the Secretary

of Defense to set policy on behalf of the United States for the DoD, in general, and military service

members and their dependents, in particular.

       40.     The Memorandum was not disclosed by Ms. Wyer to this Court at the February 26,

2020 TRO Hearing before this Court or in nearly 13 months of litigation involving multiple

Statements of Interest in the Circuit Court proceeding. It was released last month by DoD.

                                        VERIFICATION

       I, Richard L. Mast, am over the age of eighteen years and a Defendant in this action. The

statements and allegations that pertain to me or which I make in this DECLARATION are true and

correct, and based upon my personal knowledge (unless otherwise indicated). If called upon to testify

to their truthfulness, I would and could do so competently. I deciare under penalty of perjury, under

the laws of the United States, that the foregoing statements are true and correct to the best of my

knowledge.

Dated: March 3, 2023                           Respectfully submitted,


                                               /s/Richard L. Mast




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                        EXHIBIT 1
1   DoDCase 3:22-cv-00049-NKM-JCH Document 176-1
        Attorney      Client Privilege 1979                             Filed 03/03/23 Page 10 of 16 Pageid#:



    --- -Ori_ginal Message----
    From:l lli)l6}                 !USAF OSD OUSD POLICY (USA) l(b)(6)             lmil@mail.mil>
    Sent: Wednesday. February 12, 2020 12:10 PM                ~ ~ - -- -~
    To:l tb\f6)            ICIV OSD OUSD POLICY (USA) l(b)(6)        iciv@mail.mil>
    Subject: FW: Baby L. DoD Request

    ~
    FYA

     R,
    UhlLJ


    ----Oriflj~al Messaae----
    From:   Ib (6)            ICol USAF OSD OUSD POLICY (USA)
    Sent: Wednesday. February 12. 2020 12:09 PM
    To: !{b){6)                        l@uscis.dhs.gov>
    Subject: Baby L. DoD Request


    l(b)(6) 1

    Request letters at the bottom.
    Thanks ...

    R,
    M

    ...,
    l<b,..,)..,.(6..,.). . - - - - - - - - '~ Col, USAF
    Director
    Force Protection and Emerging Threats
    ASD Homeland Defense & Global Security
    Office of the Under Secreta of Defense for Policy
        (b)(6)



    N
    s




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                          OFFICE OF THE ASSISTANT SECRETARY OF DEFENSE
                                       2600 DEFENSE PENTAGON
                                     WASHINGTON, O.C. 20301 -2600


HOMEU\NO Df:F'ENSE': 0,
  GLOBAl. SECUAlTY

         MEMORAN DUM FOR UNITED STATES ClTIZENSH IP AND lMMIGRATION SERV ICES,
                        DEPARTMENT OF H OMELAND SECURITY

        SUBJECT: Department of Defense Request to Expedite Review ofl-134 Application for Baby L ..
             . Mast

                This memorandum documents the official request for USCIS to expedite the review of
        said application, pursuant to USCIS Po licy Manual, Volwne 1, Part A, Chapter 12, and outlines
        the criteria met fora "Departmeot of Defense or National Interest Situation."

                    Baby L.      Mast ("Baby L. is a six-month-old infant female that suffered serious
        injuries at approximately forty-five days of age during a U.S. combat operation on 6 September
        20 l 9. Due to her unique status as an orphaned stateless minor, and her need for ongoing medical
        care, a member of the Department ofDefense (DoD) applied for and was granted sole legal
        custody ofBaby L. ·on 6 November201 9 by a U.S. court. On l0November20 19, asecond
        U.S . court issued an order granting Baby L. a ".Record of Foreign Birth" birth certificate
        finding that Baby L. birth country and nationality/citizenship is "unknown, " and providing
        her with her sole legal identity.

                The D oD bas an interest in ensuring the safety of DoD Dependents, and providing them
        with their statutorily authorized benefüs, iacluding healtb care. Within DoD, the Defense Healt:h
        Service (DHS) specitically has an obligation to ensure the safety of every patient, and to protect
        the Patient Righcs outlined by Deparnnent ofDefense Instruction (DoDI) 6000.14. Il is in the
        best interest of the Department of Defense and the U.S. G~vernment that thjs , l ication be
        reviewed expeditiously. l am providing a memo from Col (b)(6 )                    that further
        details our request and provides extensive supporting information.

               I respectfully request favo rable consideration of this request. My point of contact for
        questions or further discussion is Colj (b)(6)               [ and he can be reached at
      i(b)(6)              ~mil@maH.mil otj(b)(6)            1




                                                      ~~'---------
                                                      Deputy Assistant Secretary of Defense
                                                      for Defense Continuity & Mission Assurance



                                                   UNCLASS




                                                                                                               T 00568


                                                                                                             DOD-0000531
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                           OFFICE OF THE ASSIS T ANT SECRETAR Y OF OEFENSE
                                          2GOO OEFENSE PENTAGON
                                         WASHINGTON , D .C 203 0 1· 2600



1-<0MEI..AND OEFENSE &
  (J i_Q J)"'L SEC URITY

          MEMORANDUM FOR UNJT ED STATE$ CITIZENSHJP AND lMMIGRA TION SE RVICES,
                           DEPA RT MBNT OF HO MELAND SECURITY

          SUBJECT : Deparrment ofDefense Request to Expedite Review of 1- 134 Application for BabyL.1
                           Mast

                 Th is memorandum p rovides furthcr explanation and suppo11ing documcnts for the official
          request for US CIS ro expedite tne review of the 1-1 34 app lication for Baby L. Mast
          ("Baby L. .

                   Bab y L. is a six-monU1-old infan t fem a lc th al s uffered serio us inj uries at
          approximately forty-five days of age during a U.S. combat operation on 6 September 2019 (T AB
          B). Her injuries werc sustained during an explosive breach of a compound wall, fragmenlation
          grenades, and a s uicide vest.

                   Baby L. has been a patient of the Defense H ealfh System since 6 Septem ber 20 19.
          Due to her ltnique status as an orphaned statclcss, minor, and her need fo r o ngoing medical care,
          a member of the Department ofD efern;e (DoD) applied for and was granted sole legal custody of
          Baby L. on 6 ovember 2019 by a U.S. court (TAB C). On 10 November 2019, a second U.S.
          court issued an order grant ing Baby L. a "Record of Foreign Birth'' birth certificate fi nding that
          Baby L. birth country and na tionali1y/citizcnship is "unknown," and providing her wïtb her
          sole legal identity (TA B E).

                    T he OoD has an interest in e11stiring the safety ofDoD D ependents, ànd providing them
          wi tJ1 their statutorily authorizcd benefits. including hcalfü carc. Wi l11jn DoD, the Dcfensc H callb
          Service (DHS) specilically has an obligation to ensure Lhe safety of every patient. and to protect
          the -Palien t R ights oullined by Department of Defense lnslruct ion (DoDT) 6000.14. These rîghts
          include the right to be treated in a safe environment, as welf as to participate in treatment
          decisions, and choose betwecn appropriate medica! providers.

                   The DoD and DHS ' s in terests outl i.ned above conlribute to the read incss oflhe Am,ed
          Forces, as it allows DoD membe-rs to focus on the ir individual roles and responsibi lities,
          knowing lhal Lhe trust they place in DHS whil e their dependenl is under its care is well founded.
          DH S provides support to the warfighter by ensuring excellent. safe, and appropriate care fo r each
          patie nl, esp ecia lly vulnerable dependents such as infants and c bildren.

                    ln this case, Baby L. has boen a patient at the C raig J oint Theatre Hosp ital, in a
          combat zone, at B a&rram A ir Field, under sporad ic roe ket fire, for over 145 clays. Sign1ficant
          resources of ti me, cffort, and cosls have been invcstcd in ensuring Lhat Baby L. fu lly rccovcrs




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   from her injuries. Given the inherent dangers of indirect and other hostile fires in her current
   location, her tender age, and the risk of infection and disease in an active military hospital, the
   Jocation is not appropriate for her safety or development.

              In addition, Dr. j(b)(S)     !a Pediatrician at the University ofVirginia's Children's
   Hospita! , has prepared a treatment regimen addressing Baby L. medica! needs, and has
   accepted her as a patient (TAB B). Given the likely need for cranium cap to reshape Baby L.
   deformed skull before it hardens as she matures, time is of the essence.

            For the reasons outlined above, a medevac to the United States is necessary and
   appropriate. Given the role of the DoD in Baby L. injuries and being stJ:anded as a foreign
   female orphan in an extremely dangerous region for vulnerable children, a parole visa is
   particularly appropriate for this child.

            The DoD is not advocating for adoption. Rather, we are advocating for urgently
   required medica! care. Understanding that identity and extensive medica! condition are of
   concern and addressed below, see below:

   ldentity

   Per the facts in TAB E, and the findings of two U.S. judges, Baby L. is an orphaned stateless
   minor whose birthplace and residence is unknown. She has been a patient in the custody o f the
   U.S. Government since 6 September 2019. She bas a valid court order from the Commonwealth
   of Virginia Juvenile and Domestic Relations Court ordering her legal name to be ''BabyL.
            Mast," and her legal birthday to be 24 July 20 l 9. A V irginia Circuit Court also found,
   based on the facts and circumstances regarding her recovery, that L. nationality and
   citizenshi is unknown and directed the Vir inia De artment ofVital Statistics to roduce a
   Certificate ofForeign Birth. TAB E details the circurnstance of Baby L. having no identity
   prior to these court orders. As per TAB E,     Baby L.        Mast is a six-month-old stateless
   infant with no known citizenship or nationality in the sole legal custody of Joshua and Stephanie
   Mast.

   In addition, Baby L. has been approved by Headquarters, United States Marine Corps, to enroll
   in the D cfcnsc Enrollmcnt Eligibility Rcporting Systcm (DEER S) as the lcgal dcpcndcnt of Capt
   Joshua Mast, an Active Duty Marine. As a DoD dependent, Baby L. has been enrolled in
   TriCare, the U.S. military's health insurance program for service members and their dependents
   (TAB C). Consequently, all of Baby L. medica! costs will be covered by TriCare health
   insurance.

   Nature and Severity of the Medical Condition

   As per TAB B, Baby L. has suffered traumatic injuries to her head and femur. Her attending
   Neurosurgeon at CJTH indicated Baby L. skull fracture "needs frequent medical assessment
   and evaluation bevond standard wellness checks for repeat imaging or seizure prophylaxis as


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   indicatcd if shc dcvclops 11cw fluid accwnulation due to failcd skull fracture healing or dclayed
   onset ofseizures that are life threatening.'· ln the images of Baby L. the significant
   swclling/skull dcfonuity can be obscrvcd, and Baby L. will likcly rcqu irc the use of a cranjal
   orthosis to reshape her skull.

   Tn regards to B aby L. open left femur fracture, her attending Orthopedie Surgeon assessed
   that she requires ••frequent medica! assessment and evaluation beyond standard wellness checks
   with repeat imagi ngto evaluate for femur growth mismatch and future gait and mobility
   difficulties. [f growth mismatch occurs, surgical correction will b e required to prevent gait
   dysfunction, mobility delays, and hip and knee over-correct ion issues that wilt lead Lo lifelong
   disability."

   Baby L. attending B urn Surgcon, indicatc lhal her burn injuries rcquircd ··frequent
   monitoring and evaluation beyond standard wellness checks for evaluation of burn scar
   progression and li fc long evaluation for increased risk for squamous eelt carcinoma and skin
   contracture. Contractures will need surgical management or e lse w ilt lead to deformity and
   Jifelong disability."

   As per TAB B. consequences for Jack of evaluation, monitoring, and treaLment may include:
   " ... if she. develops new flu id accumulation due to failed skull fracture healing or delayed 011set
   of seizures thal are Ii fc thrcatcning,'" 'polcntial li Cc Lhrcatcning imp 1icalions," " l i fclong
   disabi lity," and "defom1ity and lifelong di sabi lity," in addition toa variety ofother increased risk
   factors givcn her tender age.

   Availability and Accessibilily ofRequired Medical Trcatment in Afghanistan

   TAB Dis a letter to the Afghan government from ~frs. Kimberly Motlcy, Esq., an American
   c itizen who is the only foreign attorney licensed to practice law in Afghanistan. Mrs. Motl ey has
   law offices in botb the United States and Afghanistan and bas been working in the Aîghan legal
   system dealing with chi Id rrafficking and adoption since 2008. Sh e originally became aware of
   Baby L. circumstances through. American roj]jtary p crsonnel and volunteercd to inlervene on
   her behalf to seek medical care in the United States. Mrs. Motley notes in her letter "I am not
   aware ofany govemmenlal instilutions in Afghanistan Lhat can provide the long- term medica],
   socia l, and sccurity care that wi l! adcguatcly protcct her."

   Mrs. Motley's assessment was echoed in meetings with tJ1e Afghan Ministry ofLabor and Social
   AJTairs (MOLSA) and other Afghan officials, w ho all expressed that the Afghan government did
   not have the capability to care for a chi Id of Baby L. age or with her medica! needs.

   According to the World Health Organization (T AB F), the "Hospita! and Laboratory Services" i11
   Afghanistan in 2019 are cbaracterized by:

                   InsuCficient quality of lertiary care and low lrust i.n public hospitals.
                   Lack of standard models fo r public hospita Is.


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          •       Lack of a hospital accreditation system.
          •       Absence of continuous medical education programs to improve clinical
                  care in hospitals.
          •       Limited number of skilled laboratory technicians, particularly at provincial
                  and district levels.
          •       Lack of drug supplies and necessary medica! technologies in hospitals.
          •       Old infrastructure in national and some regional hospitals .
                  Low capacity ofhosp ital management.
          •       Lack of quality standards for laboratories and low-quality lab services.
                  Enclosure (11 ).

   Access to "Essential Medicine and Health Technol ogies" was also poor. T he WHO states that
   "Access to essential drugs through basic health care and secondary and tertiary health services is
   among the key concerns ofMoPH and partners, but geographical constraints and security
   problems are affecting appropriate utilization and access to essential medicines. Both the
   quantity and quality of essential medicines are major challenges for the health system." Other
   factors in this poor assessment included:

                  Limited number of skilled pharmaceutica1 experts, low capacity in the
                  quality control system.
                  Low capacity in some aspects ofregulatory function s such as registration
                  and Good Manufacturing Practices inspection.
                  Long and open borders with neighboring countries make it very
                  challenging to take control of illegal medicine smuggling.
                  Poor health-seeking behavior and the high cost of healthcare in remote
                  areas lead to self-medication.
          •       Inappropriate use of medicines by phannacists and practitioners.
          •       Over-the-counter use of antibiotics increases the risk of antimicrobial
                  resistance.

   Agreement to Provide Treatment for Identified Conditions

   Per TAB B, Dr.l(b)(6)        1 a pediatrician with the University of Virginia Children's Hospita!
   bas been selcctcd as the Primary Care Manager for Baby L. under the TriCare h calth insuranee
   program.

   Length of Time Required for Medica! Treatment

   Per TAB B, and the discussion in "Nature and Severity of the Medical Condition" section above,
   based on the serious ramifications offailing to detect complications in her injuries, and the
   variety ofrecommendations of medical professionals treating Baby L. at the CJTH in TAB B,
   18-24 months to ensure full recovery in a critica! growth stage would be appropriate.

   Cost of Treatment & Financial Coverage


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   Per TAB E, Ilaby L. is in Lhe sole Ie.gal custody of Joshua and Stephanie Mast, has been
   emollecl io Lhe Depcndent Eligibility Enrollment System (DEERS), and is covered by TriCare
   heaJth insurance as a result of her s tatus as a ward of Capt Mast. Tirns. a ll necessary m edica!
   trcatment will be covorcd by the military's hcalth insurance. Based on tbc cxtcnsivc list of
   medica! requirements, the cost of Baby L. recovery wi Il like ly be in the lens of thousands of
   dollars.

   Evidence of Lcgal Guarctiansbip in the U.S. & ConscnL for Treatme nt

   As per Encloi.ure (5), Baby L. is in the sole legal custody of Joshua and Stephanie M asl, and
   they wi l! consent to any necessary med ica! treatment once L. is admirted to the University of
   Virginia Cllildrcn·s Hospita!, wllich is locatcd J.9 miles from Capt Mast's permanent duty
   station at the Judge Ad vocate General 's Lega l Center and School, in Charlortesville, VA.

            Baby L . has experien ced signîficant trauma already in her young life and the cond itions
   for someone of her particular vulnerabilities in Afghan istan are extremely '1oslile, even without
   her m e dical needs. With her ongoing need for access to med ica! care, she wi l I not survive if leff.
   in Afghanistan. The nature and so urce ofBaby L. injuries are dircctly tied to the Uni lcd
   States, as is the fact that she is al ive and on the road to recovery.

                        P lease- do not hesitate to contact me should you require any additional documentation to
    assist ou in reodering a fävorable decision regarding. this requcst. 1 can be reached at
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